Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 1 of 35

UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE (DELAWARE)
x

MOTION TO REMOVE STAY
In Re:

YRC INC.,
Case No.: 23-11069-CTG

SIRS:

PLEASE TAKE NOTICE that upon the annexed affirmation of JONATHAN D.
MANDELL, dated the day of August, 2023 a motion pursuant to 11 U.S.C. 362 (d) will be
made as set forth below:

JUDGE:
RETURN DATE OF MOTION: September 28, 2023

COURTHOUSE: United States Bankruptcy Court
824 N. Market Street, #500
Wilmington, Delaware 19801

RELIEF SOUGHT: For an Order pursuant to 11 U.S.C. 362
(d) lifting and/or modifying the
automatic stay in this matter so as to
permit the litigation and case entitled
MYRIAM BINETTE V. YRC INC., FRANTZ
BARON, JESSENIA M. TORRES and ALICIA
M. ZAGELBAUM which is currently pending
in the Supreme Court of the State of New York
712769/2020 to proceed and for such other and
and further relief as this Court may seem just
and proper.

Dated: Lynbrook, New York

August 28, 2023

Yours, etc.,

LAW OFFICES OF JONATHAN D. MANDELL
Attorneys for MYRIAM BINETTE

29 Broadway

Lynbrook, New York 11563

516-599-88337 L222
BY: =

THAN D. MANDELL

TO:

Case 23-11069-CTG Doc 344 Filed 08/28/23

Debtor - YRC INC.
11500 Outlook Street, Suite 400
Overland Park, KS 66211

US. Trustee

Office of the United State Trustee
J. Caleb Boggs Federal Building
844 King Street, Suite 2207
Lockbox 35

Wilmington, DE 19801

Claims Agent — Epiq Corporate Restructuring, LLC
777 Third Avenue, 12" Floor
New York, New York 10017

LESTER SCHWAB KATZ & DWYER, LLP
Attorneys for Defendants

YRC INC. and FRANTZ, BARON

100 Wall Street

New York, New York 10005

212-964-6611

FERRO & STENZ

Attorneys for Defendants

ALICIA M. ZAGELBAUM and JESSENIA TORRES
875 Merrick Avenue

Westbury, New York 1590

516-229-4288

Page 2 of 35
Case 23-11069-CTG Doc 344

UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE (DELAWARE)
Xx

In Re:

YRC INC.,

Xx

Filed 08/28/23 Page 3 of 35

AFFIRMATION

Case No.: 23-11069 CTG

JONATHAN D. MANDELL, an attorney duly admitted to practice law in the State of New

York hereby affirms the following under penalty of perjury:

That I am associated with the law firm of LAW OFFICES OF JONATHAN D. MANDELL

and I respectfully submit this affirmation in support of the instant motion seeking to lift and/or

modify the stay of litigation against YRC INC., pursuant to 11 U.S.C. 362 (d) upon the grounds set

forth below:

My law firm represents MYRIAM BINETTE, the plaintiff in the following action pending

in New York State Courts:

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF QUEENS

Xx

MYRIAM BINETTE,
Plaintiff,
-against-

YRC INC., FRANTZ BARON, JESSINIA M.
TORRES and ALICIA M. ZAGELBAUM,

Defendants.

Index No.: 712769/2020

Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 4 of 35

A copy of the plaintiff's Summons and Complaint is annexed hereto as Exhibit "1".

The above-entitled State Court action herein referred to as the BINETTE action is presently

being litigated in the New York State Court and plaintiff is ready to proceed but cannot do so due to

the Chapter 7 filing of YRC INC.

Your affirmant has been informed by CUSTARD INSURANCE ADJUSTERS that it is the
insurance representative for YRC INC. A copy of the Notice of Representation of YRC INC. is

annexed hereto as Exhibit "2".

Upon information and belief, said carrier is required by virtue of its insurance policy
covering YRC INC. to defend and indemnify YRC INC. for any liability and damages incurred as a
result of the incident complained of in the BINETTE action. Upon information and belief, a defense
will be provided to the complaint by the carrier's attorney if the automatic stay is lifted. (Exhibit

"2").

The BINETTE action is one for severe and serious personal injuries sustained by the
plaintiff MYRIAM BINETTE on November 9, 2018 at approximately 8:46 p.m. which was caused
by negligence of the defendants, YRC INC., FRANTZ BARON, JESSINIA M. TORRES and
ALICIA M. ZAGELBAUM at Page Place at or near its intersection with Grand Avenue, in the
County of Queens, City and State of New York when a motor vehicle owned by defendant, YRC
INC. and operated by defendant, FRANTZ BARON collided with a motor vehicle owned by
defendant, ALICIA M. ZAGELBAUM and operated by plaintiff, JESSENIA M. TORRES which

plaintiff was a passenger in.

As a result of the said collision, the plaintiff, MYRIAM BINETTE suffered severe back
Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 5 of 35

injury including herniated nucleus pulposis at L5-S1 requiring surgery including hemilaminotomy

with decompression nerve root including foraminotomy, and placement of rods.

Additionally, plaintiff, MYRIAM BINETTE sustained injury to her left knee, left ankle,

lumbar and cervical spine.

A copy of plaintiffs bill of particulars is annexed hereto as Exhibit "3" and a copy of

plaintiffs supplementary bill of particulars is annexed hereto as Exhibit "4".

It is evident that YRC INC. is an indispensable party to the BINETTE action. It is presently
pending. However, the plaintiff MYRAM BINETTE is unable to proceed with this action due to the
filing by YRC INC. of a Chapter 7 Petition. As a result thereof, MYRIAM BINETTE has now

been severely prejudiced by the filing of a Chapter 7 Petition by YRC INC.

As a result of the fact that YRC INC.is insured by CUSTARD INSURANCE ADJUSTERS
and will be provided a defense by said carrier for the BINETTE action if the automatic stay is lifted
there will be no damage or prejudice to YRC INC. to its creditors or to his estate if the stay is lifted

to permit the BINETTE action to go forward to the limits of the policy.
No prior application has been made for the relief herein.

WHEREFORE, it is respectfully requested that this Honorable Court lift and/or modify
the stay in this action pursuant to 11 U.S.C. 362(d) and permit YRC INC. to proceed in litigation
in the BINETTE action for the events complained of in the action pending in the New York State

action, and for such other and further relief as this Court deems just and proper.
a

__JONATHAN D. MANDELL
Affirmed this 28" day of August, 20a

Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 6 of 35

EXHIBIT “1”
BSige Page 7 Of 35npzx wo. 712769/2020
NYSCEF DOC. No. 1 RECEIVED NYSCEF: 08/12/2020

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF QUEENS Date Filed:
MYRIAM BINETTE, - x
Plaintiff,
-against-
SUMMONS

YRC INC., FRANTZ BARON, JESSENIA M,
TORRES and ALICIA M. ZAGELBAUM, The bass of the vehicle designated is:
Location of Occurrence
Defendants.
rasuabens seis wits -X
To the above named defendants:

You Are Hereby Summoned to answer the complaint in this action and to serve a copy
of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the plaintiffs attorney within 20 days after the service of this summons,
exclusive of the day of service (or within 30 days after the service is complete if this
summons is not personally delivered to you within the State of New York); and in case of
your failure to appear or answer, judgment will be taken against you by default for the
relief demanded in the complaint.

Dated: Lynbrook, New York
August 12, 2020

ML. Ahadke

STEPHANIE SCHACHTER

LAW OFFICES OF JONATHAN D. MANDELL
Attorney for Plaintiff MYRIAM BINETTE

29 Broadway

Lynbrook, New York 11563

(516) 599-8833

1 of 10
(FILED: QUEENS (sé Page 8 of 35npex no. 712769/2020
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 08/12/2020

Defendants’ Address:

YRC INC.

c/o CT Corporation System
28 Liberty Street

New York, New York 10005

FRANTZ BARON
119-03 204" Street
New York, New York 11412

JESSENIA M. TORRES
215-13 106 Avenue
New York, New York 11429

ALICA M. ZAGELBAUM
59-40 Queens Boulevard
Apt. 16F

Queens, New York 11377

Plaintiff’s Address:
MYRIAM BINETTE

581 Jefferson Street
Westbury, New York 11590

2 of 10
(FILED: QUEENS Page 9 of 33wpex no. 712769/2020
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 08/12/2020

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF QUEENS
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MYRIAM BINETTE, Index No.:
Plaintiff,
-against-
VERIFIED
COMPLAINT
YRC INC., FRANTZ BARON, JESSENIA M.
TORRES and ALICIA M. ZAGELBAUM,
Defendants.
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Plaintiff, complaining by her attorneys, LAW OFFIES OF JONATHAN D.
MANDELL, does hereby allege as follows:

FIRST: That at all the times mentioned herein, the plaintiff,
MYRIAM BINETTE was and still is a resident of the County of Nassau and State of
New York.

SECOND: That at all times mentioned herein, the defendant,
YRC INC., was and still is a domestic corporation duly licensed and operating under the
laws of the laws of the State of New York.

THIRD: That at all times mentioned herein, the defendant,
YRC INC., was and still is a foreign corporation duly licensed and operating under the laws
of the laws of the State of New York.

FOURTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, YRC INC. was the owner of a certain vehicle,

license plate number 2459243 for the State of Indiana for the year 2018.

3 of 10
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NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 08/12/2020

FIFTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, FRANTZ BARON, was the operator of the
aforesaid motor vehicle

SIXTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, FRANTZ BARON, was the operator of the
aforesaid motor vehicle with the consent and permission of the owner.

SEVENTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, FRANTZ BARON, was the operator of the
aforesaid motor vehicle with the consent and permission of the owner, YRC INC.

EIGHTH: That at all the times mentioned herein, upon
information and belief, the defendant, YRC INC., maintained the aforesaid vehicle.

NINTH: That at all the times mentioned herein, upon
information and belief, the defendant, FRANTZ BARON, maintained the aforesaid
vehicle

TENTH: That at all the times mentioned herein, upon
information and belief, the defendant, YRC INC., controlled the aforesaid vehicle.

ELEVENTH: That at all the times mentioned herein, upon
information and belief, the defendant, FRANTZ BARON, controlled the aforesaid
vehicle

TWELFTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, ALICIA M. ZAGELBAUM was the owner of a
certain vehicle, license plate number BMV8519 for the State of New York for the year

2018.

4 of 10
(FILED: QUEENS @ouRtT FI QOS DoppAsookjted Pcgsagy, Page 11 of 38\nex no. 712769/2020
NYSCBEF DOC. NO. 1 RECEIVED NYSCEF: 08/12/2020

THIRTEENTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, JESSENIA M. TORRES, was the operator of the
aforesaid motor vehicle

FOURTEENTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, JESSENIA M. TORRES, was the operator of the
aforesaid motor vehicle with the consent and permission of the owner.

FIFTEENTH: That at all the times hereinafter mentioned, upon
information and belief the defendant, JESSENIA M. TORRES, was the operator of the
aforesaid motor vehicle with the consent and permission of the owner, ALICIA M.
ZAGELBAUM.

SIXTEENTH: That at all the times mentioned herein, upon
information and belief, the defendant, ALICIA M. ZAGELBAUM, maintained the
aforesaid vehicle.

SEVENTEENTH: That at all the times mentioned herein, upon
information and belief, the defendant, JESSENIA M. TORRES, maintained the aforesaid
vehicle.

EIGHTEENTH: That at all the times mentioned herein, upon
information and belief, the defendant, ALICIA M. ZAGELBAUM, controlled the
aforesaid vehicle.

NINETEENTH: That at all the times mentioned herein, upon
information and belief, the defendant, JESSENIA M. TORRES, controlled the aforesaid

vehicle

9 of 10
NYSCEF DOC. NO. 1 RECEIVED NYSCEF:

TWENTIETH: That at all the times mentioned herein, upon
information and belief, Page Place at or near its intersection with Grand Avenue, in the
County of Queens, City and State of New York, was and still is a much traveled
thoroughfare in said County, City and State.

TWENTY-FIRST: That on or about November 9, 2018, at
approximately 8:46 p.m., the respective defendants’ vehicles were being operated at the
aforesaid location.

TWENTY-SECOND: That at all times mentioned herein, plaintiff,
MYRIAM BINETTE was lawfully and properly a passenger in the motor vehicle owned
by defendant, ALICIA M. ZAGELBAUM and operated by defendant, JESSENIA M.
TORRES.

TWENTY-THIRD: That at the aforesaid date, time and place,
immediately prior to the impact between the respective vehicles, defendant, FRANTZ
BARON, did observe the vehicle of defendants, JESSENIA M. TORRES and ALICIA
M. ZAGELBAUM on the public way.

TWENTY-FOURTH: That at the aforesaid date, time and place,
immediately prior to the impact between the respective vehicles, defendants, JESSENIA
M. TORRES, did observe the vehicle of the defendants, FRANTZ BARON and YRC
INC. on the public way.

TWENTY-FIFTH: That at the aforesaid date, time and place, the

respective defendants’ vehicles came into contact.

6 of 10

St2aq Page 12 of 3&ipex no. 712769/2020

08/12/2020
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NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 08/12/2020

TWENTY-SIXTH: That the respective defendants were negligent,
reckless and careless in the ownership, maintenance, operation and control of their
vehicles resulting in the occurrence complained of.

TWENTY-SEVENTH: That as a result of same, this plaintiff was caused to
sustain severe and permanent injuries, all of which was wholly and solely as a result of
the negligence of the respective defendants, their agents, servants and/or employees
without any contributory negligence on the part of the plaintiff herein.

TWENTY-EIGHTH: That by reason of the negligence of the respective
defendants as aforesaid, this plaintiff became sick, sore, lame and disabled, suffered and
still suffers from severe and permanent injuries and will continue to suffer same, was
caused to sustain long periods of medical care and will continue to sustain same.

TWENTY-NINTH: That this plaintiff has sustained a serious injury as
defined in subsection (d) of Section 5102 of the Insurance Law or an economic loss
greater than basic economic loss as defined in subsection (a) of Section 5102 of the
Insurance Law.

THIRTIETH: That the instant matter is not subject to Article 16 of
the CPLR being an exception thereto.

THIRTY-FIRST: That due to the negligence of the respective
defendants as aforesaid, the plaintiff, MYRIAM BINETTE, has been damaged in an
amount which exceeds the jurisdictional limits of all lower courts.

WHEREFORE, plaintiff, MYRIAM BINETTE, demands judgment against the

respective defendants in an amount which exceeds the jurisdictional limits of all lower

7 of 10
(FILED: QUEENS Roh ; 8h) Page 14 of 38ypex no. 712769/2020
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 08/12/2020

courts which would otherwise have jurisdiction of this action, together with the costs and
disbursements of this action.

Dated: Lynbrook, New York
August 12, 2020

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Aleihannicd ding HTER

LAW OFFICES OF JONATHAN D. MANDELL
Attorney for Plaintiff MYRIAM BINETTE

29 Broadway

Lynbrook, New York 11563

(516) 599-8833

8 of 10
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NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 08/12/2020

INDEX NO.
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS
MYRIAM BINETTE,
Plaintiff,
-against-

YRC INC., FRANTZ BARON, JESSENIA M.
TORRES and ALICIA M. ZAGELBAUM,

Defendants.

SUMMONS & VERIFIED COMPLAINT

LAW OFFICES OF JONATHAN D. MANDELL
Attorneys for Plaintiff
29 Broadway
Lynbrook, New York 11563
(516) 599-8833

10 of 10
Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 17 of 35

EXHIBIT “2”
Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 18 of 35

@
Cia.
CUSTARD

INSURANCE ADJUSTERS

//

12/27/2018

Myriam Binette
581 Jefferson St.
Westbury NY 11590

Address Reply To:

Office -

55 Jericho Turnpike

Suite 101

Jericho, NY 11753

T: 516-333-2123

F: 516-333-6004

E: jericho.ny@custard.com

Adjuster -
E: jgiglietta@custard.com
C: 516-901-3212

CIA File #: 139-011589
Client Name: YRC Trucking
Date of Loss: 11/9/2018

Dear Myriam Binette:

Custard Insurance Adjusters has been retained by YRC Trucking to investigate the
circumstances surrounding the above-referenced loss, which occurred on 11/9/2018.

In order for us to properly review this matter, it is essential we speak with you regarding
the circumstances surrounding this incident. We will be happy to minimize any
inconvenience to you as much as possible. Given advance notice, we can be flexible in
scheduling a meeting that can accommodate your preferred date and time.

Please contact me at (516) 901-3212. If | am not available, please leave your name,
telephone number, our claim number and the best time to return your call. Also, | have
been unable to contact Ms. Jessenia Torres. If possible, please provide me with her
phone number or her and ask her to call me at the number below.

Sincerely,

Custard Insurance Adjusters, Inc.

Joe Giglietta

Adjuster

E: jgiglietta@custard.com
C: 516-901-3212
Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 19 of 35

EXHIBIT “3”
(FILED: QUEENS é er ¢ Page 20 of 38ipex no. 712769/2020
NYSCEF DOC. NO. 11 RECEIVED NYSCEF: 11/13/2020

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF QUEENS
xX
MYRIAM BINETTE, Index No.712769/2020
Plaintiff,
-against-
VERIFIED BILL
YRC INC, FRANTZ BARRON , JESSENIA M. TORRES
And ALICIA ZAGELBAUM, OF PARTICULARS
Defendants. .
a xX
SIRS:

PLEASE TAKE NOTICE, as and for Plaintiff's Verified Bill of particulars, it is
stated as follows:

1. Myriam Binette date of birth and social security number will be provided under
separate cover.

2. Myriam Binette

3. n/a

4, 581 Jefferson Street Westbury, NY 11590

5. This accident occurred on 11/9/2018 at approximately 8:46 p.m

6. Location of accident: Page Pl! at or near the intersection of Grand Ave County of
Queens, State of New York.

7. That the defendant’s were negligent in the premises in that they operated their
vehicle’s at an excessive rate of speed; operated their vehicles in a dangerous
manner; in failing to observe the conditions of traffic then and there prevailing;
in failing to take proper control of the vehicle; in failing to keep a proper lookout
and be reasonably alert; in operating the vehicle without regard to the traffic then

present on the said thoroughfare; in operating the vehicle without regard to other

1 of 14
(FILED: QUEENS

NYSCEF DOC. NO.

11

RECEIVED NYSCEF:

vehicles then present on the said thoroughfare and specifically the vehicle in
which plaintiff was a passenger; in failing to bring the vehicle to a proper stop so
as to avoid contact with the vehicle in which she was a passenger; in failing to
sound a warning of the approach or of the impending occurrence; in failing to
come to a safe and proper place to stop the vehicle; in failing to give the right of
way to those on the roadway entitled to same; in failing to see what was there to
be seen; in failing to slow down and/or stop the vehicle in order to take cogni-
zance of those in the roadway and to avoid contact with them; in failing to take
those steps necessary to avoid striking a vehicle in which plaintiff was passenger;
in violating the laws of the State of New York, in such cases made and provided
and then and there in effect; in proceeding on the roadway at a fast, reckless and
wanton rate of speed; in failing to keep and maintain the brakes and braking
equipment and steering equipment in proper working condition and/or in failing
to seasonably and reasonably apply and/or utilize same; and in striking a vehicle

causing plaintiff passenger to sustain serious and severe injuries.

8. The Plaintiff sustained the following injuries

Cervical disc bulges at C4-5; C5-6; and C6-7 internal derangement of the

cervical spine, cervical radiculopathy and spasms of the paravertebral musculature of the

cervical region; significant restriction of motion of the cervical spine in all planes; pain and

stiffness of the neck and upper back radiating into both shoulders, down the course of both

arms to the hands; significant impairment of function of the neck; strain of the muscles and

ligaments of the cervical area; straightening of the normal lordosis; the foregoing condition

2 of 14

Page 21 of 38)prx no. 712769/2020

11/13/2020
FILED:

NYSCEF DOC. NO. 11 RECEIVED NYSCEF:

was caused by the occurrence and/or was activated by the occurrence in that it is now
disabling and pain producing.

Lumbar Spine-dise herniation at L5-S1 disc bulges at L4-5: Internal

derangement of the lumbar spine with lumbar intervertebral disc syndrome; lumbar
radiculopathy and spasms of the paravertebral musculature of the lumbar region; significant
restriction of motion of the lumbar spine in all planes; pain and stiffness radiating from the
lower back to the hip down the course of the leg; fascitis and radiculopathy of the lumbar
spine; numbness of the lower extremities; traumatic lower back injury resulting in severe
pain and limitation of motion; straightening of the lumbar lordosis. The foregoing condition
was caused by the occurrence and/or was activated by the occurrence in that it is now
disabling and pain producing

Left knee-Diffuse inhomogeneity and sprain of the anterior and posterior

cruciate ligaments with pericruciate edema; Inferior surface erosion of the posterior

horn of the medial meniscus superimposed obliquely oriented tear extending to the

inferior meniscal surface at the middle third of the posterior horn of the medial

meniscus; Internal derangement of the left knee with severe pain, swelling and
tenderness of the left knee with restriction of motion in all planes; difficulty walking,
bending and standing; inability to ambulate; inability to bear weight.

Left ankle- Internal derangement of the left ankle with severe pain, swelling and
tendemess of the left ankle with restriction of motion in all planes; difficulty walking,

bending and standing; inability to ambulate; inability to bear weight.

3 of 14

Page 22 of 3&\prx wo. 712769/2020

11/13/2020
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NYSCEF DOC. NO. 11 RECEIVED NYSCEF:

Injuries to the nerves, tendons, ligaments, muscles, blood vessels, blood
supply, central nervous system, muscular system, skin, skeletal system and soft tissue at
or near the injured areas.

The foregoing conditions were caused by the occurrence or incited and activated a
previous quiescent condition that it is now disabling and pain producing.
The foregoing injuries were caused by the occurrence or were an exacerbation of a
previous injury which was non-disabling and fully resolved at the time of occurrence.
9. Plaintiff claims all of the above injuries except those of a superficial nature are
permanent in nature.
10-11. Plaintiff was confined to bed and home for six months intermittently and
partially and including through present time.
12. Employment: n/a
13. n/a
14. Special Damages: a-d.-Will provide authorization for NF Geico for amounts of
medical expenses.
e. not applicable
f-g. not applicable

15. Plaintiff claims damages in the amount of $1,000,000.00 for past pain and
suffering, $1,000,000.00 for future pain and suffering and special damages.

16. Plaintiff is NOT employed

17. Not applicable
18. not applicable as plaintiff was passenger
19. not applicable

20. not applicable

4 of 14

Page 23 of 35npex no. 712769/2020

11/13/2020
Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 24 of 35

EXHIBIT “4”
Page 25 of 38pex no. 712769/2020
NYSCEF DOC. NO. 15 RECEIVED NYSCEF: 02/05/2021

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF QUEENS
Xx
MYRIAM BINETTE, Index No.712769/2020
Plaintiff,
-against- SUPPLEMENTARY
VERIFIED BILL
YRC INC, FRANTZ BARRON , JESSENIA M. TORRES
And ALICIA ZAGELBAUM, OF PARTICULARS

Defendants.
x

SIRS:
PLEASE TAKE NOTICE, as and for Plaintiff's Supplementary Verified Bill of
particulars, it is stated as follows:
8. The Plaintiff supplements the following sustained injuries:

Lumbar Spine-disc herniation at L5-S1 disc bulges at L4-5- necessitating SURGERY

NYU LANGONE MEDICAL CENTER: Intra Operative Navagation; application of

Intervertebral biomechanical device; posterior and posterolateral technique

arthrodesis with left lateral transverse; posterior instrumentation across two spinal

segments; hemilaminotomy with decompression nerve root including foraminotomy

facetectomy for decompression left and right; aspiration of Iliac Crest bone marrow

bilateral with stem cell concentration and reimplantation; Design and templating and

production of custom medicrea UNID RODS; Internal derangement of the lumbar spine

with lumbar intervertebral disc syndrome; lumbar radiculopathy and spasms of the
paravertebral musculature of the lumbar region; significant restriction of motion of the
lumbar spine in all planes; pain and stiffness radiating from the lower back to the hip down

the course of the leg; fascitis and radiculopathy of the lumbar spine; numbness of the lower

1 of 9
FILED: QUEENS SypBiasa, Page 26 of 36:pex no. 712769/2020
NYSCEF DOC. NO. 15 RECEIVED NYSCEF: 02/05/2021

extremities; traumatic lower back injury resulting in severe pain and limitation of motion;
straightening of the lumbar lordosis. The foregoing condition was caused by the occurrence
and/or was activated by the occurrence in that it is now disabling and pain producing
Injuries to the nerves, tendons, ligaments, muscles, blood vessels, blood

supply, central nervous system, muscular system, skin, skeletal system and soft tissue at
or near the injured areas.

The foregoing conditions were caused by the occurrence or incited and activated a
previous quiescent condition that it is now disabling and pain producing.

The foregoing injuries-were caused by the occurrence or were an exacerbation of a
previous injury which was non-disabling and fully resolved at the time of occurrence.

Dated: Lynbrook, New York
November 18, 2020

A NATHAN D. MANDELL
/ Attorney for Plaintiff
£29 Broadway
Lynbrook, New York 11563
(516) 599-8833

FERRO & STENZ

Attorneys for Defendant

Alicia Zagelbaum and Jessenia Torres
875 Merrick Ave

Westbury NY 11590

516 229-4288
MCabasso@Geico.com

DESENA & SWEENEY
Attorneys for Defendant
YRC INC and Frantz Baron
1500 Lakeland Ave
Bohemia, NY 11716

631 360-7333

2 of 9
Page 27 of 38\ypex no. 712769/2020
RECEIVED NYSCEF: 02/05/202:

N YU LANGONE MEDICAL CENTER TISCH
OPERATION SUMMARY

Name: Binette, Myriam Date of Surgery: 10/09/2020
Chart #: 12574430

Primary Surgeon: Peter G. Passias, M.D.

Assist: Angel Macagno, M.D., Karan Patel, M.D., PGY4

Anesthesia: General Endotracheal.

EBL: 100 mi

IVF: 2 L LR;

UOP: 250 mL

Complications: None

Intrumentation: Globus Creo Bilateral L5 7.5 by 50num, S1 8.5 by 50, Globus Rise 10-17 mm by 10 by 26
mm cage 15 Lordotic at LS-S1, 2 Custom Globus Prebent 5.5 Hyperlordotic Titanium Rods (55/60).
Cancellous 4Scc, Graft: OCS , BMA 40.

Neuromonitoring: TcMEPs, EMG free running, SSEPs.

Diagnosis:

Foraminal] and Lateral Recess Spinal Stenosis L5-S1,
Herniated Nucleus Pulposis Paracentral and Foraminal L5-S1,
Radiculopathy Bilateral L5-S1,

Mechanical Low Back Pain,

LS and S1 Radiculopathy.

Operation:

Computer Assisted Intra-operative Navigation (61783)

Application of Intervertebral Biomechanical Device L5-S1, (22853),

Posterior and Posterolateral Technique Arthrodesis with Left Lateral Transverse [.5-S1 (Through MIS
Tube), (22633),

Posterior Instrumentation Across Two Spinal Segments (22840)

Hemilaminotomy with Decompression Nerve Root Including Foraminotomy, Facetectomy for
Decompression, Left and Right L5-S1, (63047 Modifier 59 and 50)

Aspiration of Iliac Crest Bone Marrow Bilateral with Stem Cell Concentration and Reimplantaion (20939
w/ modifiers 51 & 59),

Unlisted Diagnostic Radiographic Procedure: Design and Templating and Production of Custom Medicrea
UNID Rods (76499-26)

Allograft Morselized (20930),

Autograft Morselized (20936),

Autograft Collected (20937)

Fluoroscopy Interpretation (76000),

3 of 9
Page 28 of 38ypex no. 712769/2020
RECEIVED NYSCEF: 02/05/2021]

Microscope Technique (69990)
Computer Assisted Intra-operative Navigation (61783)
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Procedure:

Prior to entering the operating room informed consent was obtained and the surgical site was marked. The
patient again expressed a complete understanding of the risks and benefits which were outlined in my office
consent form and wished to proceed. J explained to them that multiple levels and instrumentation may be
involved and the extensive nature of the procedure. All possible alternatives and options and potential
outcomes were discussed. The patient again expressed clear and complete understanding of the risks and
benefits that were detailed in my office consent form, including death, Pulmonary Embolisms, Myocardial
Infarction, other major surgical and medical complications, worsening of symptoms, dysphagia,
Gastrointestinal complications including bowel obstruction or perforation, paralysis, Foot Drop, Brachial
Plexus and Peripheral Injury, infection, haematoma, need for further surgery, and others and the patient
wished to proceed. All medical and surgical risks were discussed and fully explained. We also discussed non-
operative options, fusion and non-fusion options and the need for future surgery. We discussed that this
surgery was not a guarantee for improvement and could result in worsening. We discussed they would likely
need surgery in the future for the adjacent levels. All questions were answered. We discussed that additional
levels in the spine and the operative levels may need future surgery. Before making an incision a time-out
was conducted. Antibiotics were administered within one hour of incision and sequential compression
stockings were applied. Fire safety protocol was performed.

Positioning:

Following intubation the patient was placed prone onto the Jackson table with 4 posts and a chest pad.
Maximum obtainable lwmbar lordosis was achieved. Care was taken to position Gel padding under potential
pressure points at the hips, knees and elbows making sure all peripheral nerves including the peroneal and
femoral nerves were free of compression. A grounding pad was carefully positioned on the thigh and a
strap around the thigh was positioned to hold the legs firmly in position. Calf length compression stockings
were connected. Antibiotics were administered within 1 hour of incision.

Prepping and Draping:

A time-out was performed prior to preparation. The back was prepped with a chlorhexadine solution.
Standard draping of the thoracic and lumbosacral area was performed leaving access to the posterior
superior iliac crests. A fire safety was performed.

Incision and Exposure

Two incisions were made paramedian at LS and S1. Electrocautery was utilized to control all bleeding. We
went through the subcutaneous layer exposing the lumbodorsal fascia. The subcutameous layer was stripped
off to the side to gain exposure to the fascial layers. The fascia was then opened just lateral to the midline
on each side. The perimesium was then opened 2cm lateral to the midline on each side. The paravertebral
muscles were separated between the longissimus and the dorsalis spinalis gaining access to the posterior
elements. Cerebellar and Wetlander retractors were used to hold the soft tissues out of the way. Care was
taken to avoid damage to the facet capsules of the levels not to be fused. Care was taken not to violate the
inter-transverse membrane. Radiographs were taken to document levels.

Right Liac Crest Bone Marrew Aspirate with Stem Cell Concentration

4 of 9
Page 29 of 38ypex no. 712769/2020
RECEIVED NYSCEF: 02/05/2021

ADSC Page

A separate fascial incision was made over the right iliac crest. At this point a trocar was used and bone
marrow was aspirated using a syringe (for total of 60cc) and this was mixed with the allograft after being
concentrated using the bone marrow concentration system.

Computer Assisted Intra-operative Navigation (61783)

The Screws were placed robotically. The DRB was placed via a separate incision in the right Iliac Crest.
The CT scan was then merged with the operative imaging. The screws were placed robotically using
sequential awl, drill, tap and screws that were modular. The tracts were then palpated to ensure a complete
bony tunnel and a floor and the dimensions were determined. A preference for an anatomical insertion
angie was utilized wnen possibie. Direct screw snmulation With WiVLUS OL ALL screws Was periormea ana
revealed them to be well above the safe threshold. Fluoroscopic imaging confirmed localization and
orientation. The tracts were then palpated to ensure a complete bony tunnel and a floor and the dimensions
were determined.

Hemilaminotomy with Decompression Nerve Root Including Foraminotomy, Facetectomy for
Decompression, Left and Right L3-L4, L4-L5, L5-S1, (63047 Modifier 59 and 50, 63048 Modifier 59 and 50
x 2)

Using a fluted followed by a diamond burr and then Kerrison Rongeurs a portion of the lower edge of the
right L5 lamina and the cephalad edge of the SJ lamina was removed. Small Kerrison rongeurs and curettes
were utilized to remove the remaining lateral 1/2 of the ligamentum flavum and epidural fat. At this point
approximately one-third of the right facet was removed to decompress the lateral recess. The $1-S1foramen
was then palpated and a foraminotomy was performed. At this time the table was tilted away and the
contralateral left laminotomy was performed taking the ventral lamina and ligamentum and leaving the
dorsal lamzina partially intact. The right one-third facet was removed to decompress the lateral recess and
the foramen was decompressed. At this point using a blunt Woodson elevator the central space, lateral
recess and foramina were palpated and thoroughly decompressed. The L5-S1 nerve roots were visualized
and also noted to be free. This was repeated at L3-4 and 14-5.

Application of Intervertebral Biomechanical Device L5-S1, (22851),

Posterior and Posterolateral Technique Arthrodesis with Left Lateral Transverse Technique L5-S1,
(22633),

A Left sided approach to the L5-S1 interspace would be performed. Using an osteotome a vertical followed
by a horizontal cut was carefully made on the left side of the left hemi-lamina, with care taken to leave the
pars intact. Using a curette this was separated from the ligamentum flavum which was then resected. The
laminotomy was completed with Kerrison Rongeurs relieving the lateral recess stenosis and pressure on the
traversing nerve root. At this point the Left LS-S1 foramen was palpated with a Woodson elevator. Leaving
this in place to protect the nerve root a complete foraminotomy was performed to the level of the distal
pedicle, thus exposing the disk space and nerve root. Extensive scarring was appreciated in this area from
the previous surgery surrounding the nerve root. Bipolar was used to control epidural bleeding. In a TLIF
fashion with the exiting and traversing nerve roots carefully protected, the disc annulotomy was performed
and the disk space entered. The disk was removed entirely using pituitary rongeurs curettes and rasps, with
the exception of the anterior and lateral outer annulus. The endplates of 1.5 and S1 were scraped until there
was evidence of bleeding bone. At this point an osteotome was used to perform a partial corpectomy at the
inferior portion of LS and superior portion of S1 (less than 50%) in order to remove posterior osteophyte
and maximize access to the disk space prior to trials. Trials were progressively performed. The anterior
disk space was carefully packed with Iliac Crest aspirate and allograft mixture into the interspace anterior

5 of 9
3) Page 30 of 3fypex no. 712769/2020
RECEIVED NYSCEF: 02/05/202H

to the cage using a funnel. A 10mm titanium cage was packed with the same mixture of allograft/BMA and
inserted into the interbody space. Adequate placement was confirmed with fluoroscopy. This was expanded
to a 17mm height and repeated bilaterally.

Posterior and Posterolateral Fusion

Unlisted Diagnostic Radiographic Procedure: Design and Templating and Production of Custom Medicrea
UNID Rods (76499-26)

All exposed posterior and posterolateral bone surfaces were decorticated. At this point the 2 lumbosacral
rods were chosen. The 2 rods on each side were then seated in a gradual fashion to the pedicle screws. ‘These
rods had been customized using advanced software. Compression between the screws was performed. The
caps were locked into the final position and thorough irrigation was performed. Radiographs were obtained
to document the improvement in alignment at this point.

Allograft Morselized (20930)

Autograft Morselized (20936)

Collected Autograft (20937),

Following this, the previously osteotomized facet joints and lateral gutters, and that collected through a
bone collector connected to suction, were packed with autologous local bone. Care was taken to avoid
placement near exposed nerve roots or dura. A piece of gelfoam was placed over any exposed neurological
structures additionally. The remaining allograft was placed posteriorly and laterally to supplement the
fusion. Lastly, the remaining allograft bone was added. This had been previously soaked with vancomycin
1gm and gentamicin 80mg.

Closure:

The retractors were removed. Final x-rays were taken. The muscle was loosely approximated. 500mg of
Vancomycin powder was placed on top of this layer. The perimesium was closed bilaterally with interrupted
figure-8 #1 Vicryl sutures followed by a running layer. The central fascial incision was closed with
interrupted figure 8 #1 Vicryl sutures followed by a running layer. Vancomycin was placed above this layer
as well. The subcutaneous space between the skin and iliac crests were sutured separately. The subcutaneous
layer was closed with 2-0 Vicryl. The overlying skin was closed with 2-0 nylon vertical mattress sutures.
Steri-strips were applied. A sterile dressing was placed over the wound and covered with a sterile xeroform
and Aquacell dressing. The patient was awoken, extubated and transferred carefully from the Jackson
frame to the bed. Upon wake up the patient was intact neurologically consistent with his pre-operative
examination. Examination was performed by myself and repeated in the recovery room.

The patient was transferred to the recovery room in Stable Condition. No complicatious were witnessed.
All counts were correct. The SSEPs. and free running EMGs were stable throughout except a transient drop
in SSEP in the right arm. Screw stimulation was above threshold for all screws.

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Peter G. Passias, M.D. —

6 of 9
Page 31 of 38:prx no. 712769/2020

FILED: QUEENS :
NYSCEF DOC. NO. 15 RECEIVED NYSCEF: 02/05/2021

ATTORNEY VERIFICATION

The undersigned, an attorney admitted to practice before the Court of the State of New
York, hereby affirms as true under the penalties of perjury that he is one of the attorneys
of record for the plaintiff in the within action; that affirmant has read the foregoing
SUPPLEMENTARY BILL OF PARTICULARS and knows the contents thereof, that
the same is true to affirmant's own knowledge, except as to matters therein stated to be
alleged on information and belief, and that to those matters, affirmant believes it to be
true. Affirmant further states that the reason this affirmation is not made by the plaintiff
is that said plaintiff is not in the county where affirmant has his office.

DATED: Lynbrook, New York
November 18, 2020

— JONATHAN D MANDELL

7 of 9
(FILED: QUEEN i Page 32 of 39npex wo. 712769/2020
NYSCEF DOC. NO. 15 RECEIVED NYSCEF: 02/05/2021

AFFIDAVIT OF SERVICE

STATE OF NEW YORK )
)ss.:
COUNTY OF NASSAU )

KERRY BURNS, being duly sworn, deposes and says; that deponent is not a party
to the action, is over 18 years of age and resides at Oakdale New York.

That on the 18" day of November, 2020, deponent served the within
SUPPLEMENTARY BILL OF PARTICULARS: on:

FERRO & STENZ

Attorneys for Defendant

Alicia Zagelbaum and Jessenia Torres
875 Merrick Ave

Westbury NY 11590

516 229-4288
MCabasso(@Geico.com

DESENA & SWEENEY
Attorneys for Defendant
YRC INC and Frantz Baron
1500 Lakeland Ave
Bohemia, NY 11716

631 360-7333

The addressees designated by said attorney(s) for that purpose by depositing a true
copy of same enclosed in a postpaid properly addressed wrapper, in a post office official de-
pository under the exclusive care and custody of the United States Postal Service within

New York State.
Ky wel we (AS

KERRY

Sworn to before me this
18 day of November, 2020

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Notary Public : SP: NEOs rg”
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8 of 9
Page 33 of 3&ypex no. 712769/2020
NYSCEF DOC. NO. 15 RECEIVED NYSCEF: 02/05/2021

9 of 9
Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 34 of 35

AFFIDAVIT OF SERVICE

STATE OF NEW YORK _ )
SS:
COUNTY OF NASSAU _ )

PATRICIA KRUPKA, being duly sworn, deposes and says: That your deponent is not a
party to this action, is over 18 years of age and resides at Oceanside, New York.

That on the day of August 2023, deponent served the within: MOTION TO REMOVE
STAY & AFFIRMATION on:

Debtor - YRC INC.
11500 Outlook Street, Suite 400
Overland Park, KS 66211

U.S. Trustee

Office of the United State Trustee
J. Caleb Boggs Federal Building
844 King Street, Suite 2207
Lockbox 35

Wilmington, DE 19801

Claims Agent — Epiq Corporate Restructuring, LLC
777 Third Avenue, 12" Floor
New York, New York 10017

LESTER SCHWAB KATZ & DWYER, LLP
Attorneys for Defendants

YRC INC. and FRANTZ BARON

100 Wall Street

New York, New York 10005

212-964-6611

FERRO & STENZ

Attorneys for Defendants

ALICIA M. ZAGELBAUM and JESSENIA TORRES
875 Merrick Avenue

Westbury, New York 1590

516-229-4288
Case 23-11069-CTG Doc 344 Filed 08/28/23 Page 35 of 35

at the address designated by said attorneys for that purpose by depositing a true copy of same
enclosed in a post paid properly addressed wrapper, in an official depository under the exclusive
care and custody of the United States Post Office Department within the State of New York.

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PATRICIA KRUPKA

Sworn to before me this
ZAK day of August, 2023.

Pours QYOurns

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Notary Public
KERRY A BURNS
NOTARY PUBLIC, STATE OF NEW YORK

Registration No, 01BU0000229 )
Qualified in Suffolk County
\fs Commission Expires February 02,2027

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